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                                                          July 2, 2025

                                                                                                                         VIA ECF


   The Honorable Judge Margo K. Brodie                               Magistrate Judge Joseph A. Marutollo
   United States District Court                                      United States District Court
     for the Eastern District of New York                              for the Eastern District of New York
   225 Cadman Plaza East                                             225 Cadman Plaza East
   Courtroom 6F                                                      Courtroom N324
   Brooklyn, NY 11201                                                Brooklyn, NY 11201

             Re:      In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                      No. 1:05-MD-1720 (MKB)(JAM)

  Dear Judges Brodie and Marutollo:

         Pursuant to the Superseding and Amended Definitive Class Settlement Agreement of the Rule
  23(b)(3) Class Plaintiffs and the Defendants (ECF 7257-2), Rule 23(b)(3) Class Counsel respectfully
  request the Court’s approval of (W)right On Communications, Inc.’s (“Wright On”) funding request
  to pay for services provided in June related to the claims administration process. Attached as
  Exhibit A is Wright On’s Invoice #1220-4572 for $9,088.20. The expenses are related to services
  including work related Project Management, Owned Media, Public Relations and Social Media for
  Payment Card Settlement Communications Program as detailed separately, and other tasks as detailed
  in Exhibit A.

                                                     Respectfully submitted,

     /s/ Ryan W. Marth                          /s/ Michael J. Kane                         /s/ Alexandra S. Bernay
     K. Craig Wildfang                          H. Laddie Montague, Jr.                     Patrick J. Coughlin
     Thomas J. Undlin                           Merrill G. Davidoff                         Alexandra S. Bernay
     Ryan W. Marth                              Michael J. Kane                             Robbins Geller Rudman
     Robins Kaplan LLP                          Berger Montague PC                             & Dowd LLP

  Exhibit A

  cc:        All Counsel via ECF




  4899-0837-3074.v1

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